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 UNITES STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 _____________________________________________ X
  Debra Triolo

                                                Plaintiffs
  -against-
                                                                         10 CV -2310

   Penncro Associates, Inc.
                                               Defendant
 _______________________________________________X


                             STIPULATION OF DISMISSAL

        IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned,

 the attorneys of record for all parties (the Defendant having not appeared), that whereas

 no party hereto is an infant, incompetent person for whom a committee has been

 appointed or conservatee and no person not a party has an interest in the subject matter of

 the action, the above-entitled action be, and the same hereby is discontinued with

 prejudice and without costs to either party. This stipulation may be filed without further

 notice with the clerk of the Court.



 S/ JOSEPH MAURO                               7-9-10
 Joseph Mauro, Esq.                            Date
 Attorney for Plaintiff
